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UNITED srArEs DISTRICT CoURT
FoR THE DIsrRICr oF CoLUMBlA
UNITED sTATEs oF AMERICA,
V.
Crim. NO. 17-201-01 (ABJ)
PAUL J. MANAFORT, JR.,

Defendant.

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DEFENDANT PAUL J. MANAFORT, IR.’S RESPONSE
TO GOVERNl\/[ENT’S MOTION TO UNSEAL TRANSCRIPTS

Defendant Paul J. Manafort, Jr., by and through counsel, hereby responds to the
Special Counsel’s -Motion to Unseal Transcripts (“Governrnent’s l\/lotion”)l and the
Court’s Minute Order dated April 5, 2018.

With respect to the request to unseal the transcript of the bench conference held
January l6, 2018, the defendant has no objection

Concerning the bench conferences that occurred during the status conference on
February 14, 2018, the defendant generally has no objection to unsealing these hearing
transcripts, except for the ex parte sidebar discussion that occurred between prosecutors
from the Special Counsel’s Offlce and the Court. Id. at 11-14. Because the defendant
received the transcript in redacted form, he has no basis for determining Whether an
objection is Warranted. Therefore, the defendant requests that he be provided With the
redacted portion of the transcript in order to properly evaluate Whether he has any

objection A minute order directing the Special Counsel to divulge the ex parte sidebar

 

1 See Dkt. # 222.

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discussion to the defendant should suffice, as it will probably require minimal time to
review the secret discussion and interpose an objection, if any.

"l`he Government’s Motion, insofar as it seeks to unseal those portions of the
February 14 transcript that pertain to the defendant’s bail conditions, does require some
redactions based upon the Court’s previous guidance and instruction (See Transcript of
Status Conference (hereinafter Hearing Tr.), p.3, line 25; p.4, lines 1-8; p.50, lines 15-25;
p.51, lines 1-2). More specifically, the defendant proposes that the following limited
redactions are necessary:

Page 26, line 6; lines 13-18; line 25;

Page 28, lines 22-25;

Page 29, lines 1-5; lines 6, 9, 14, 15, 19, 21 (property names and dollar amounts);

Page 30, lines 3, 8, 9, 12, 25 (property names);

Page 31, lines 1~5, 10, ll (property names); lines 22-25;

Page 32, lines 1-5; lines 15-17 (property names);

Page 35, lines 2, 6, 7, 15 (property names and dollar amounts)',

Page 36, lines 1, 9-11 (property names);

Page 38, lines 4-5 (property names and dollar amounts);

Page 39, lines 6, 22 (property names);

Page 40, lines 4, 7, 21, 23 (property names and dollar amounts);

Page 41, lines 4, 9, 16 (property names and dollar amounts); lines 18-25;

Page 42, lines 1-6; lines 8, 9, 24 (property names);

Page 43, line 12 (property name); lines 14~22;

Page 44, line 6 (property location);

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Page 45, lines 20~25;

Page 46, lines 1-4; lines 10, 13, 17-19 (property locations);

Page 48, lines 7, 10, 13, 14 (property names and locations); lines 15-25;

Page 49, lines 5, 7, 8 (property and bank names and dollar amounts); and

Page 50, lines 15-19.

Dated: April 9, 2018

Respectfully submitted,

/s/
Kevin M. Downing
(D.C. Bar No. 1013984)
Law Office of Kevin M. Downing
601 New Jersey Avenue NW
Suite 620
Washington, DC 20001
(202) 754-1992
kevindowning@kdowninglaw.com

/s/
Thomas E. Zehnle
(D.C. Bar No. 415556)
Law Office of Thornas E. Zehnle
601 New Jersey Avenue NW
Suite 620
Washington, DC 20001
(202) 368-4668

tezehnle@gmail.com

Counselfor Defena'ant
Paul l Manafort, Jr.

